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UNITED STATES DISTRICT COURT JUL 1 3 2r9 7
FOR THE DISTRICT OF SOUTH DAKOTA ™ mele
SOUTHERN DIVISION ett F
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UNITED STATES OF AMERICA, CR OO-4HOOSb
Plaintiff, INDICTMENT
Vs. Interstate Domestic Violence
QUENTIN BRUGUIER, 18US.C. §§ 2261(a)(2) and 2261(b)
Defendant.
The Grand Jury charges:

On or about the 23rd day of May, 2000, in the District of South Dakota, in Indian Country,
and within the exclusive jurisdiction of the United States, Quentin Bruguier, an Indian, did cause his
intimate partner, Michelle Denny, to leave Indian Country by force, coercion, duress, and fraud, and
in the course of and as a result of such conduct, did intentionally commit a crime of violence and

thereby caused bodily injury to Michelle Denny, in violation of 18 U.S.C. §§ 2261 (a)(2) and 2261(b).

A TRUE BILL:
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reperson

TED L. MC BRIDE
UNITED STATES ATTORNEY

